Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 1 of 34 PagelD #:1

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

EASTERN DIVISION
Jami Montgomery, )
)
Plaintiff, )
)
Vv. ) Case No.
)
DePaul University, )
)
Defendant. )
COMPLAINT

The Plaintiff brings this case against the Defendant under Title VII of the Civil Rights Act
of 1964, under Section 42 U.S.C. 1981, and under the common law of the State of Hlinois. He
alleges that the Defendant discriminated against him because of his race when it denied his
application for promotion and tenure and that Defendant retaliated against him because he opposed
discrimination and supported diversity in Defendant’s hiring, retention, and tenure decisions. He
also alleges that Defendant violated the employment contract created by the provisions of the
Faculty Handbook of the University. Specifically, Plaintiff complains against Defendant as follows:

1, The Plaintiff in this case is Dr. Jami Montgomery. Dr. Montgomery lives at 5238
South Michigan Avenue in Chicago, Illinois. He is African-American. In 2000, Dr. Montgomery
received a doctorate in Computer Science from the Illinois Institute of Technology. Previously, he
received a Bachelor of Science in Electrical Engineering from Prairie View A. & M. University in
1985 and a Master of Science in Computer Science from DePaul University in June 1989.

2. Defendant DePaul University (“DePaul’’) is located in Chicago, Illinois. It is a

private, Catholic institution of higher education. DePaul has approximately 24,000 students and

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 2 of 34 PagelD #:2

more than 5,000 employees. DePaul is an employer engaged in commerce as defined by 42 U.S.C.
Section 2000e, Paras. (b), (g) and (h).

3. ° In 2002, Dr. Montgomery applied for and received a “tenure track’’ position in the
School of Computer Science, Telecommunications and Information Systems (“CTY”) at DePaul
University.

4. A “tenure track” position at DePaul is a faculty position that may lead to the award
of tenure after service of a probationary period.

5. Tenure track positions at DePaul are filled using a formal faculty search process.
This process includes national advertising and an effort to create a pool of applicants. The
applicants formally interview with faculty members of the University prior to their appointment.

6. One of prime purposes of this formal search process is to enhance the quality and
diversity of the tenure track appointments in the University.

7. When Dr. Montgomery joined CTI in the Fall of 2002, it had approximately 55
faculty members who were either tenured or on the tenure track. CTI had no tenured African-
American faculty members in the Fall of 2002. In fact, CTI has never had a tenured African-
American faculty member.

8. Since 2002, only one other African-American, Joseph Phillips, was appointed into
a tenure track position at CTI. Phillips did not receive tenure.

9. CTI employs many faculty members who have “full-time” appointments. A “full-
time” appointment requires a faculty member to teach a full course-load of classes, but service in

such an appointment does not lead to tenure.

 

 

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 3 of 34 PagelD #:3

10. —_ Hiring decisions for “full-time” appointments in CTI are made by the Dean of CTL.
Such hiring decisions are made without the input of a formal faculty search committee and without
a national search.

11. The Dean of CTI has converted many full-time appointments to tenure-track
appointments. The appointments held by GianMario Besana, Jacek Brzezinski, Kamal Dahbur,
Lucia Dettori, Alan Jeffery, Eric Sedgwick, Amber Settle, Adam Steele, Theresa Steinbach, and
Noriko Tomuro, among others, were converted from full-time to tenure track appointments. Besana,
Dettori, Jeffery, Sedgwick, Settle, Steele, Steinbach, and Tomuro subsequently were granted tenure.
All of these individuals are white, with the exception of Noriko Tumuro, who is Asian.

12. The Dean of CTI has converted other full-time appointments into tenure track
appointments for faculty members who hold positions in the cinema program. These include the
positions held by Ronald Eltanal, Scott Erlinder, Matt Irvine, Joseph Linhoff, and Gary Novak. All
of these individuals are white.

13. ‘In the Fall of 2002, there were three African-Americans in CTI holding full-time
appointments, Charles Sykes, Joseph Morgan, and Roymieco Carter. None of their appointments
were converted into tenure track appointments. None achieved tenure.

14, As of June 2009, CTI has not hired an African-American faculty member into either
a tenure track or full-time position since it hired Dr. Montgomery and Dr. Phillips in 2002.

15. In the Fall of 2007, Montgomery applied for promotion and tenure at DePaul
University. His application for promotion and tenure was approved by the tenured faculty in CTI
by a vote of 26 to 7 and by the Dean of CTI, Dr. David Miller. In June 2008, his application for
promotion and tenure was rejected by the Provost of the University, Dr. Helmut Epp, and by the

President, Dennis H. Holtschneider.

 

 

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 4 of 34 PagelD #:4

16. In 2008, the cinema program was formally merged with CTI, and CTI was renamed
the College of Digital Media (“CDM”). CDM has two schools, the School of Computing (“SoC’’)
and the School of Cinema and Interactive Media (“CIM”). The current website for CDM states that
one out of three students in the College is a person of color.

17. As of June 2009, CDM had no African-Americans who were either tenure track or
full-time faculty members.

18. During his employment at DePaul, Dr. Montgomery engaged in protected
oppositional activity under the civil rights laws. Specifically:

(a) In 2007, he helped represent one of his African-American colleagues at CTI,
Dr. Joseph Phillips, in an effort by Phillips to receive additional adjunct employment after his
regular employment was terminated without adequate notice by the University.

(b) In 2007, he also assisted Dr. Phillips in an attempt to determine whether
Dr. Phillips could file a grievance under the Faculty Handbook or take other actions to continue his
employment at the University.

(c) In the 2005-2006 academic year, the Dean of CTI, Dr. Helmut Epp, applied
for the position of Provost of the University. During the application process, Dr. Epp participated
in a public meeting of the faculty in connection with his application. During this public meeting,
Dr. Montgomery inquired about Dr. Epp’s commitment to diversity, asking him, “what are the
matrices and measures” that should be used to hold the University and its officials and subdivisions
“accountable” for improving diversity. Dr. Epp replied that holding administrators “accountable”
is language that is “too strong” and that the University has “good intentions.” He also told
Dr. Montgomery that his commitment is evidenced by the fact that he had brought Dr. Montgomery
into CTI. In response, Dr. Montgomery stated that there were not any tenured African-American

-4-

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 5 of 34 PagelD #:5

faculty in CTI and that there were only a small number of African-American faculty on the staff of
the College. Dr. Montgomery also stated that he believed that greater accountability is necessary
to increase the diversity of the faculty members at the school and to mirror the diverse make-up of
the community served by CTI and of CTI’s student body. After this exchange of statements, Dr.
Epp tured red in the face, turned away from the issues raised by Dr. Montgomery, and called on
other faculty members and answered their questions. Dr. Epp was appointed Provost.

(d) In 2006, Dr. Montgomery helped found and subsequently chaired the
Diversity Committee for CTI. The purpose of this Committee was to assist the School in achieving
the goals set forth in the President’s “2012 Plan.” Dr. Montgomery and the Committee actively
sought a role in the process used to name a permanent Dean of the school after Dr. Epp became
Provost and reported the results of their efforts to the faculty of CTI. Dr. Montgomery proposed that
the faculty members involved in the recruitment process receive diversity training. He proposed this
to the recruitment committee, and the chair of the committee declined to incorporate his proposal
into the recruitment process. Later, at a public faculty meeting, Dr. Montgomery sought the
approval of the full faculty of CTI for his proposal and was successful in obtaining some diversity
training for the chairman of the recruitment committee.

(e) While serving as the Chair of the Diversity Committee in CTI,
Dr. Montgomery also advocated on behalf of two faculty members whose teaching responsibilities
were terminated during the middle of an academic semester. The wife of one of these faculty
members had filed a gender discrimination charge against the University. When Dr. Montgomery
asked about this issue during an open meeting of the Dean’s Advisory Council, the Dean, Dr. David

Miller, became annoyed and irritated with him.

 

 

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 6 of 34 PagelD #:6

(f) In February 2006, Dr. Montgomery expressed his concerns about DePaul’s
inability to meet its goals with respect to diversity directly to the President of the University.

(g) When Dr. Montgomery appeared before the University Board in support of
his application for tenure, he told the members of the Board that he considered creation of the
Diversity Committee in CTI and establishing a diversity component during the interview process
for the candidates for Dean of CTI as among his greatest contributions to the University during his
employment at the University.

(h) During his tenure at DePaul, Dr. Montgomery had other conversations with
both the Dean of CTI (Dr. David Miller) and the Provost of the University (Dr. Helmut Epp) about
the need for greater diversity in the faculty of CTI.

19. Dr. Montgomery applied for promotion and tenure in the fall of 2007. The faculty
of CTI voted 26 to 7 in favor of his application. The Dean of CTI, Dr. Miller, also recommended
him for promotion and tenure. The University Board on Promotion and Tenure, chaired by the
Provost, Dr. Epp, however, voted against the application for promotion and tenure. Dr. Epp also
recommended that the President of the University deny Dr. Montgomery promotion and tenure, and
the President followed that recommendation.

20. The breadth and quality of Dr. Montgomery’s teaching activities in CTI were
equivalent to other faculty members in CTI who have received promotion and tenure.

21. The breadth and quality of Dr. Montgomery’s service activities within CTI and the
University were equivalent to other faculty members in CTI who received promotion and tenure.

22. | White males in CTI who received fewer votes for tenure from their colleagues in CTI

and/or who had a smaller percentage of favorable votes for tenure than Dr. Montgomery have

 

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 7 of 34 PagelD #:7

received tenure from the University. In other words, white males received tenure even though there
were “‘split votes” in CTI.

23. | White males and females at CTI who had equivalent or lesser research records than
Dr. Montgomery have received tenure at the University.

24. The University Board and the Provost, Dr. Epp, relied on subjective anonymous
comments by the faculty of CTI to support their negative recommendation on Dr. Montgomery’s
application for promotion and tenure.

25. Dr. Epp was aware of the votes and tenure decisions referred to in Paragraphs 22 and
23 because he was Dean of CTI during this period. He was also aware of the process used by CTI
and that it included the review of anonymous comments by School faculty members in the tenure
decision-making process.

26. Dr. Epp discriminated on the basis of race when he recommended that
Dr. Montgomery be denied promotion and tenure.

27. The University Board discriminated on the basis of race when it recommended that
Dr. Montgomery be denied promotion and tenure.

28. Dr. Epp retaliated against Dr. Montgomery for his oppositional activity when he
recommended that Dr. Montgomery be denied promotion and tenure.

29, The President of the University, Rev. Dennis Holtschneider, C.M., relied on the
recommendations of Dr. Epp and the University Board when he made the decision to deny
Dr. Montgomery’s application for promotion and tenure.

30. | The employment of faculty members at DePaul University is governed by a Faculty

Handbook. The Handbook is the authoritative source of policy with respect to issues of faculty

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 8 of 34 PagelD #:8

employment. The Chapter of the Handbook that regulates the evaluation of faculty is attached
hereto as Exhibit A.

31. | The Faculty Handbook is widely disseminated to all faculty at DePaul so that all
faculty know the procedures for obtaining promotion and tenure and the criteria for doing so.
Faculty members appointed at DePaul work pursuant to the policies and terms set forth in the
Handbook.

32. | Dr. Montgomery agreed to work pursuant to the terms of the Faculty Handbook when
he was appointed to the faculty in 2002 and continued to work pursuant to the terms of the Faculty
Handbook throughout his employment at DePaul.

33. The Faculty Handbook constitutes a binding employment contract between DePaul
and its faculty employees, including Dr. Montgomery.

34. . The DePaul University Faculty Handbook has specific provisions that set forth the
process for evaluating promotion and tenure applications at DePaul. With respect to the authority
of the University Board, the handbook states the following:

Decisions subsequent to that made at the initial level shall consider
the method and care of application of the approved standards by the
lower level units, including matters of stringency, consistency and
fairness, in addition to any unusual implications the decision may
have at the college/school or university level. Only in cases where
lower level decisions are judged to be deficient in significant respects
shall upper level units make their own application of the substantive
criteria of the candidate’s scholarly or artistic area.
35. The University Board made no finding that the lower-level decisions made by the

School and the Dean were deficient in significant respects with respect to Dr. Montgomery’s

application for promotion and tenure. The University Board therefore violated the Faculty

 

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 9 of 34 PagelD #:9

Handbook when it proceeded to independently apply the CTI criteria for promotion and tenure to
determine whether Dr. Montgomery’s application for promotion and tenure should be granted.

36. The University Board’s application of the CTI criteria for tenure in
Dr. Montgomery’s case was different than its application of criteria to other CTI and University
applicants for tenure.

37. | The Faculty Handbook also states that “any reversal of the decision of a prior level
shall be reported promptly to the departmental chair and/or academic dean of the prior level along
with the reasons for the reversal.’”” The Handbook also obligates the chair or the dean to inform the
candidate for tenure of a decision in his or her case before it moves on to the next level.

38. | The University Board violated these provisions of the Handbook when it did not give
the chair, the Dean, or Dr. Montgomery timely notice of its decision.

COUNT I

This cause of action is based upon Section 703(a)(1) of Title VII of the Civil Rights Act of
1964, as amended, 42 U.S.C. Section 2000e-2(a)(1). This court has jurisdiction over this Count
based upon 42 U.S.C. Section 2000e-5(f)(3). Plaintiff re-alleges Paragraphs 1 to 38 and incorporates
them by reference as Paragraphs 1 to 38 of this Count.

39. | Dr. Montgomery’s application for promotion and tenure met the standards for
promotion and tenure established by CTI and the University.

40. Defendant DePaul discriminated against Dr. Montgomery on the basis of race when
it denied his application for promotion and tenure.

41. Dr. Montgomery filed a timely charge with the United States Equal Opportunity

Commission. This charge is attached as Exhibit B.

 

 

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 10 of 34 PagelD #:10

42. On November 19, 2009, Dr. Montgomery received a “Notice of Right To Sue” from
the EEOC. This Notice is attached as Exhibit C.
43. Defendant DePaul’s discrimination against Dr. Montgomery has caused
Dr. Montgomery economic damages, pain and suffering, and emotional distress.
44. Defendant DePaul’s discrimination against Dr. Montgomery was intentional, and it
justifies the award of punitive damages.
WHEREFORE, Plaintiff prays that the Court award the following relief:
(a) render a decision finding that Defendant discriminated against Plaintiff;
(b) award damages for Plaintiff’s economic losses and emotional distress;
(c) award Plaintiff reinstatement and/or front pay;
(d) award Plaintiff punitive damages;
(e) award Plaintiff the costs and reasonable attorney fees of prosecuting this
cause of action; and
(f) award any other relief that seems equitable and just.
COUNT II
This cause of action is based upon Section 704(a) of Title VII of the Civil Rights Act of
1964, as amended, 42 U.S.C. Section 2000e-3(a). This court has jurisdiction over this Count based
upon 42 U.S.C. Section 2000e-5(f)(3). Plaintiff re-alleges Paragraphs 1 to 38 and incorporates them
by reference as Paragraphs 1 to 38 of this Count.
39. Dr. Montgomery’s activities as set forth in Paragraph 18 constituted protected

oppositional activities under Title VII of the Civil Rights Act of 1964, as amended.

-10-

 

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 11 of 34 PagelD #:11

40. | Defendant DePaul denied Dr. Montgomery’s application for promotion and tenure
to retaliate against him for his protected oppositional activities. This conduct violated Section 703(a)
of Title VII of the Civil Rights Act of 1964, 42 U.S.C. Section 2000e-3(a).
41. Dr. Montgomery filed a timely charge with the United States Equal Opportunity
Commission. It is attached as Exhibit B.
42. | OnNovember 19, 2009, Dr. Montgomery received a “Notice of Right To Sue” letter
from the EEOC. It is attached as Exhibit C.
43. Defendant DePaul’s retaliation against Dr. Montgomery has caused Dr. Montgomery
economic damages, pain and suffering, and emotional distress.
44. Defendant DePaul’s retaliation against Dr. Montgomery was intentional, and it
justifies the award of punitive damages.
WHEREFORE, Plaintiff prays that the Court award the following relief:
(a) render a decision finding that the Defendant retaliated against Plaintiff;
(b) award damages for Plaintiff’s economic losses and emotional distress;
(c) award Plaintiff reinstatement and/or front pay;
(d) award Plaintiff punitive damages;
(e) award Plaintiff the costs and reasonable attorney fees of prosecuting this
cause of action; and
(f) award any other relief that seems equitable and just.
COUNT Il
This cause of action is based upon 42 U.S.C. Section 1981. This court has jurisdiction over
this Count based upon 28 U.S.C. Section 1343 and 28 U.S.C. Section 1331. Plaintiff re-alleges and
incorporates by reference Paragraphs 1 to 38 of the Complaint above.

-11-

 

 

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 12 of 34 PagelD #:12

39. Dr. Montgomery’s application for promotion and tenure met the standards for
promotion and tenure established by CTI and the University.
40. Defendant DePaul discriminated against Dr. Montgomery on the basis of race when
it denied his application for promotion and tenure.
41. Defendant DePaul’s discrimination against Dr. Montgomery has caused
Dr. Montgomery economic damages, pain and suffering, and emotional distress.
42. Defendant DePaul’s discrimination against Dr. Montgomery was intentional, and it
justifies the award of punitive damages.
WHEREFORE, Plaintiff requests that the Court award the following relief:
(a) render a decision finding that the Defendant discriminated against Plaintiff;
(b) award damages for Plaintiff’s economic losses and emotional distress;
(c) award Plaintiff reinstatement and/or front pay;
(d) award Plaintiff punitive damages;
(e) award Plaintiff the costs and reasonable attorney fees of prosecuting this
cause of action; and
(f) award any other relief that seems equitable and just.
COUNT IV
This cause of action is based upon 42 U.S.C. Section 1981. This court has jurisdiction over
this Count based upon 28 U.S.C. Section 1343 and 28 U.S.C. Section 1331. Plaintiff re-alleges and
incorporates by reference Paragraphs | to 38 of the Complaint above.
39. Dr. Montgomery’s activities as set forth in Paragraph 18 constituted protected

oppositional activities under Section 1981 of the Civil Rights Act of 1866, as amended.

-12-

 

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 13 of 34 PagelD #:13

40. Defendant DePaul denied Dr. Montgomery’s application for promotion and tenure
to retaliate against him for his protected oppositional activities. This conduct violated Section 1981
of the Civil Rights Act of 1866, 42 U.S.C. Section 1981.
41. Defendant DePaul’s retaliation against Dr. Montgomery has caused Dr. Montgomery
economic damages, pain and suffering, and emotional distress.
42. Defendant DePaul’s retaliation against Dr. Montgomery was intentional, and it
justifies the award of punitive damages.
WHEREFORE, Plaintiff requests that the Court award the following relief:
(a) render a decision finding that the Defendant retaliated against Plaintiff;
(b) award damages for Plaintiff’s economic losses and emotional distress;
(2) award Plaintiff reinstatement and/or front pay;
(d) award Plaintiff punitive damages;
(e) award Plaintiff the costs and reasonable attorney fees of prosecuting this
cause of action; and
(f) award any other relief that seems equitable and just.
COUNT V
This cause of action is for a breach of contract under the law of the State of Illinois. This
court has pendant jurisdiction over this case under 28 U.S.C. Section 1367. Plaintiff re-alleges and
incorporates by reference Paragraphs 1 to 38 of the Complaint above.
39. The process followed by DePaul University when it considered Dr. Montgomery for
promotion and tenure breached the employment contract Dr. Montgomery had with the University

by virtue of the Faculty Handbook.

-13-

 

 

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 14 of 34 PagelD #:14

40. The breach of the employment contract set out in this case contributed to the
University’s denial of promotion and tenure.

41. The breach of contract and the denial of promotion in this case have caused
substantial economic losses to Dr. Montgomery and will continue to cause him additional economic
losses in the future.

WHEREFORE, Plaintiff requests that the Court award the following relief:

(a) declare that the DePaul University Faculty Handbook constitutes a binding
employment contract between the University and the faculty members of the University;

(b) declare that Defendant DePaul breached the provisions of that contract when
it considered Plaintiff’s application for promotion and tenure and that this breach of contract
contributed to the decision to deny tenure to Plaintiff;

(c) award damages to Plaintiff to compensate him for this breach of contract; and

(d) award any other relief that it deems equitable and just.

URY DEMAND

Plaintiff hereby demands trial by jury.

Respectfully submitted,

 

CORNFIELD AND FELDMAN
Dated: January 6, 2010 By: /s/ Stephen A. Yokich
Stephen A. Yokich
CORNFIELD AND FELDMAN
Suite 1400 Attorneys for Plaintiff

25 East Washington Street
Chicago, IL 60602-1803
(312) 236-7800

(312) 236-6686 (fax)

-14-

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 15 of 34 PagelD #:15

 

 

Exhibit A
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 16 of 34 PagelD #:16 |

DEPAUL UNIVERSITY FACULTY HANDBOOK v. 2000-2001
EVALUATION OF FACULTY

SECTIONS INCLUDED
General Meaning

Types of Review

Annual Performance Review
Tenure-track Probationary Review
Promotion and Tenure Review

Evaluative Criteria

Teaching
Scholarship, Research and/or other Creative Activities

Definition

Guidelines and Criteria
Service

Definition

Types of Service

Statement of Expectations
Documentation

Criteria for Evaluation
Distinctive and Significant Contributions

Promotion: Specific Criteria by Rank

General Criteria
Assistant Professor
Associate Professor
Professor

Tenure

Contract Rights

Eligibility

Externally Supported Appointments
Denial of Tenure

Termination of Tenured Appointments

Procedures and Timetable for Promotion and Tenure

Process

Supporting Materials

University Board on Faculty Promotion and Tenure
University Promotion and Tenure Schedule

 
Case: 1:10-cv-00078 Document #:; 1 Filed: 01/06/10 Page 17 of 34 PagelD #:17

Faculty Handbook v. 2000-2001
Evaluation of Faculty

EVALUATION OF FACULTY

GENERAL MEANING

DePaul University fosters a continual evaluation
process in all aspects of the university community.
A major element in this process is the multi-
faceted process of faculty review. The purpose of
review is to encourage a dialogue between and
among faculty and administrators in order to
better meet the missions and goals of the
university. It is a continual, on-going process that
incorporates several types of review.

TYPES OF REVIEW
Annual Performance Review

All full time faculty — tenured, tenure-track, and
non tenure-track — are reviewed annually through
a process comprised of a review and evaluation of
performance during the past academic year based
on college-specific criteria and responsibilities. It
may serve one or all of the following purposes:

1. to provide an opportunity for feedback on
performance during the past year, to
communicate expectations, and to
develop personal goals for the coming

year;
2. to determine salary recommendations; and
3. in the instance of non tenure-track, one-

year appointments, to determine whether
contract renewal for the next academic
year is appropriate and desired.

Reviews of performance are formal written
processes that are implemented by the
departmental chair and/or academic dean of the
respective college or school. Although part of the
annual review process, salary recommendations
may be based on criteria and considerations
somewhat different from those affecting
promotion and tenure and/or contract renewal
decisions. Salary decisions are made in
accordance with university budget guidelines and
usually are made at a different time during the
academic calendar year. Normally, salary
decisions result in a merit increase and —when
budgets permit — may include increases for such

 

things as equity and market adjustments. The
academic dean of the respective college or school
makes the salary recommendation to the executive
vice president for academic affairs.

Tenure Track Probationary Review

Untenured, tenure track faculty will serve a
probationary period before attaining eligibility for
tenure. The duration of the probationary period
will be determined within the initial faculty
contract. During the probationary period, the
untenured faculty member will be subject to an
annual probationary review — distinguished from
the annual performance review described above —
to be conducted by the faculty member’s home
academic unit. The purpose of the probationary
review shall be:

1. to assess progress toward promotion and
tenure by evaluating performance in the
context of promotion and tenure standards
and to provide guidance and establish
priorities for satisfying established
criteria; and,

2. to determine whether re-appointment for
the next academic year is appropriate and
desired.

A formal evaluation by peers, selected by a
procedure decided by the faculty in the unit, shall
take place at least every second year. However,
formal evaluations by the academic unit shall be
made annually if early evaluations make re-
appointment questionable.

In formal evaluations, a student representative
shall participate in the deliberative process
according to the policy of the academic unit. The
student representative shall be selected from
among the student group(s) most appropriate,
given the academic discipline or area of the
faculty member under consideration.

 

 
Case: 1:10-cv-00078 Document #:; 1 Filed: 01/06/10 Page 18 of 34 PagelD #:18

Each formal or informal evaluation shall result in
a written recommendation to the dean for re-
appointment or termination.

The dean shall decide the issue of re-appointment
or termination and report his or her decision to the
department or appropriate academic unit. If the
dean and the department or appropriate academic
unit are in disagreement, the department or
academic unit may appeal the dean’s decision to
the executive vice president for academic affairs.
In such cases, the department and academic dean
shall report to the executive vice president for
academic affairs the reasons for their respective
positions. The executive vice president for
academic affairs shall make the decision and shall
report it to the faculty member.

Promotion and Tenure Review
General Criteria

DePaul University shall appoint, retain, promote,
tenure and reward faculty who best help the
university attain its goals and fulfill its mission, as
these are articulated in this Faculty Handbook.
The criteria for the decisions are the quality of the
candidate’s:

1. teaching and learning
scholarship, research, and/or other
creative activities, and

3. service to the university

Service to the community and to the profession
are also significant considerations but cannot
stand in lieu of service to some elements of the
university.

The determination that an individual meets these
criteria is made primarily on the basis of
guidelines promulgated by the candidate’s
department or — in the absence of departmental
structures — by the college or school, which state
what is to be expected of faculty with regard to
the above areas.

These guidelines are to be informed by criteria
specific to that unit’s professional discipline, field
or interdisciplinary area. The academic unit
employs these guidelines only after they have

 

Faculty Handbook v. 2000-2001
Evaluation of Faculty

been approved as being consistent with the
general university criteria stated in this Faculty
Handbook (following section). The University
Board on Faculty Promotion and Tenure,
consisting of representatives from the colleges or
schools appointed by the Faculty Council, shall be
responsible for making these determinations.

Decisions subsequent to that made at the initial
level shall consider the method and care of
application of the approved standards by the lower
level unit(s), including matters of stringency,
consistency, and fairness, in addition to any
unusual implications the decision may have at the
college/school or university level. Only in cases
where lower level decisions are judged to be
deficient in significant respects shall upper level
units make their own application of the
substantive criteria of the candidate’s scholarly or
artistic area.

University-level deliberations shall consider the
desired range of:

¢ combinations of teaching and _ learning;
scholarship, research, and/or other creative
activities; and service,

e the variety of roles through which faculty
members serve the institution,

e the differing needs of the individual units,

e the institutional demands made on faculty,
and

e the varying levels of support available to
faculty members in different units for these
various activities.

Promotion and merit evaluations must recognize
continuing efforts toward improvement and
involvement in the three major activity areas
according to the level of a faculty member’s
expertise and the resources available. Tenure
evaluations must project the probable future
performance of the faculty member in these areas
as indicated by accomplishments and efforts
during the probationary years. The initial and
basic evaluation is carried out at the level of the
lowest academic unit of the faculty member’s
appointment, where one’s peers are assumed to
represent the institution’s best expertise in the
relevant academic field.

wo

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 19 of 34 PagelD #:19

A faculty member with a formal appointment in
more than one academic unit or college/school
shall be evaluated by the home unit and shall be
evaluated independently by the second unit if it so
chooses, or if requested to do so by either the
candidate or by the home unit.

The academic unit of the formal appointment shall
evaluate a faculty member who teaches in the
academic unit of the formal appointment as well
as in a program unit. Programs or other entities
for which the faculty member teaches or carries
out other formally assigned duties shall be invited
to submit evaluations which are to be included
with the home unit’s evaluation and to be given
weight at each stage of the review process in a
way that approximates the portion of the workload
assigned in that entity.

A faculty member who changes formal
appointments during the period under assessment
shall be evaluated by both academic units with
access to each other’s documentation as they see
fit.

The faculty member’s supporting documents and
the unit(s) evaluation(s) shall be sent by each
academic unit to the next higher level unit until
they reach the executive vice president for
academic affairs who — subsequent to action by
the University Board on Faculty Promotion and
Tenure — shall make a recommendation to the
university president in each case.

EVALUATIVE CRITERIA

Teaching

Good to excellent teaching shall be the first
requirement in decisions at all levels on hiring,
retention, promotion and tenure. A_ positive
decision on these matters and on the annual
performance review shall require a demonstration
of continued improvement of teaching or — where
prior assessments indicated sufficiently high
quality — the maintenance of past quality.

Teaching evaluations shall be done in some
systematic, documented manner and shall include
contributions from the candidate’s students and
peers, although this need not necessarily mean in-

 

Faculty Handbook v. 2000-2001
Evaluation of Faculty

class peer review. The faculty member shall also
submit course materials and a self-assessment.

Evaluation of teaching shall address the following
matters:

e command of materials

® effective communication of subject matter

® appropriateness and thoroughness of
objectives

® course content,
presentation

e methods of evaluating students

® success in bringing students to an
acceptable level of performance and in
challenging them to grow intellectually
and morally

organization and

Instructional activities outside the classroom, such
as course development, academic advisement,
accessibility to students, supervision of
independent study, and contributions to meeting
departmental instructional needs shall also be
considered.

Scholarship, Research and/or other Creative
Activities

Scholarship, research and/or other creative
activities are expected of each faculty member
throughout their professional life. For
appointments to tenure track positions, there
should be strong indications of the candidate’s
potential for these pursuits. Throughout the
probationary years, faculty members should also
be able to demonstrate success at completing
projects and disseminating the results of these
projects in the academic and artistic area beyond
DePaul.

Evidence concerning scholarly contributions for
the creative products should include:

* acomplete professional curriculum vitae

® copies of these contributions when feasible

® assessment of these contributions by
professional peers and other experts in the
field, and

e self-assessment concerning scholarly growth
and development

 

 
Definition’

Scholarship encompasses four separate but
overlapping functions:

a.

the advancement of knowledge through
original discovery, usually within the
context of a disciplinary field and
practice, such that a __ significant
contribution is made to the stock of
human knowledge and the intellectual
climate of the university;

the integration of knowledge through
cross- and multi-disciplinary
investigations, through placing results of
disciplinary research into broader
frameworks of interpretation, by
discovering the boundaries where older
fields of inquiry converge and require a
new field to develop;

the application of knowledge in
responsible ways to consequential
problems of contemporary society, the
larger community, so that one’s scholarly
specialty informs and is informed by
interactions with that community;

the representation and communication of
knowledge through the development of
pedagogical methods and tools that reflect
on and enhance the _ intellectual
community.

Guidelines and Criteria

1.

Specific instances of scholarship should
be evaluated in light of their a)
originality; b) contribution to knowledge;
c) conceptual or artistic sophistication; d)
intellectual rigor or artistic skills; e)
effective application of knowledge to
address human problems or needs, and; f)
effective communication of knowledge to
audiences beyond the classroom.

If such instances of scholarship are not
susceptible to such evaluation, they
cannot satisfy the criteria for promotion
and/or tenure.

Nevertheless, it should be acknowledged
that an activity may be evaluated in

 

' Adopted by Faculty Council — May 3, 1995

 

Case: 1:10-cv-00078 Document #; 1 Filed: 01/06/10 Page 20 of 34 PagelD #:20

Faculty Handbook v. 2000-2001
Evaluation of Faculty

various ways. For example, an academic
unit may evaluate oral presentations by —
without limitation -— listening to
recordings, examining drafts, or soliciting
the views of other scholars (including
other members of the faculty) who were
in attendance. An evaluative body may
judge the reliability of the evaluative
factors available as to each such activity.
The faculty of a department, college or
school will determine which forms of
scholarship particularly advance and
communicate knowledge within a
disciplinary or interdisciplinary field and
how the products of scholarship will be
weighed.

Activities conducted solely within a
candidate’s classes, or designed merely to
keep a candidate abreast of scholarly
development in a field, should be
considered in evaluating a candidate’s
teaching, not in evaluating whether a
candidate has satisfied the standard
delineated for scholarship, research and/or
other creative activities.

Service”

Definition

Service consists of activities that

1.

4.

benefit the university and its academic
units, professional associations, or the
community;

are consistent with the university’s
mission;

require the expertise of the faculty
member — either the specialized expertise
of the faculty member’s field or the
general skills possessed by all members of
the faculty, and;

are provided without full compensation.

Ordinarily, service activities are provided without

compensation.

Compensated activities are

considered to have a service component to the

 

* Adopted by Faculty Council — February 7, 2001

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 21 of 34 PagelD #:21

extent that the compensation is not commensurate
with the extent or value of the faculty member’s
contribution.

Types of Service

Service may be provided to the university, to the
profession, and to the community in the following

ways.

1.

University service consists of
contributions to the enhancement of the
institution’s internal processes and _ its
relationships with external bodies.
University service takes place through
formal organizational roles, to which the
faculty member is elected or appointed,
within the university or through
appointments by the university to
represent it on external bodies. It consists
of activities beyond active participation in
ordinary governance of the faculty
member’s home academic unit.

A partial list of basic categories of
university service includes:

e Extraordinary contributions to the
work of committees, boards, working
groups, and related entities in the
home academic unit;

e Filling a leadership role in the home
academic unit;

e Work contributed to the meeting of
the goals of standing and ad hoc
committees, task forces, boards,
working groups, councils and related
entities, at the levels above the faculty
member’s academic unit;

e Serving as the appointed liaison or
representative of the university to an
external institution or as the liaison or
representative of an external
institution at DePaul.

Specific examples of service include:

e Work contributed as a member or
chair of a personnel, search or
curriculum committee in the home
unit;

 

Faculty Handbook v. 2000-2001
Evaluation of Faculty

e Serving as a departmental chair or
program director;

e Work done as_ director of
undergraduate or graduate studies;

e Contributions made as a member of a
college personnel committee or other
standing committees in colleges
organized in departments or
programs;

Serving as an associate dean;

e Active membership on the Faculty
Council;

* Work done as a member of a standing
committee of the Faculty Council;

e Contributions to the Liberal Studies
Council;

e Contributions to university-wide
bodies such as the University
Research Council and Quality of
Instructional Council;

e Organizing or making presentations at
summer retreats;

e Active membership on an ad hoc
panel preparing for re-accreditation;

e Acting as faculty representative to the
Rhodes Scholarship Commission;

e Serving as DePaul’s representative on
the Illinois Board of Higher
Education.

Professional service consists of
contributions to the organizations or
associations of the faculty member’s
academic discipline or the professoriate.
Professional service may have a
component of scholarship or creative
activities.

Examples of professional service include:

serving as an elected officer of a national
or regional professional association;
serving on a committee or task force of a
professional association;

editing a professional journal or
newsletter;

serving aS a peer reviewer for a
professional journal;

organizing a professional meeting or
symposium, and;

 
Case: 1:10-cv-00078 Document #; 1 Filed: 01/06/10 Page 22 of 34 PagelD #:22

serving aS a peer reviewer on an
accreditation process “visiting team.”

Community service consists of activities
that require the faculty member’s
expertise, either the specialized expertise
in the faculty member’s field or the
general skills possessed by all members of
the faculty, and that contribute to the
public welfare outside the institution,
consistent with the Vincentian tradition of
DePaul University.

Examples of community service include:

e Consulting with private, public and
religious organizations, provided — as
stipulated above -— that such
consulting not be fully remunerated;

e Providing services to the public
through a university clinic or center;

e Giving presentations and
performances for the public, provided
- as stipulated above — that the
activities not be fully compensated;

e Serving on the boards of non-profit
organizations and community groups;

e Communicating in popular and non-
academic publications;

e Speaking to civic organizations on a
matter pertinent to the faculty
member’s expertise;

e Testifying as an expert witness before
a committee of the U.S. House of
Representatives or Senate, the Illinois
legislature, City Council, or similar
governmental bodies. .

Activities consistent with a faculty
member’s expertise but that could be done
by someone without that expertise do not
count as community service. In some
instances it will not be obvious whether
an activity counts as community service.
In those cases, it is the responsibility of
the faculty member under review to make
the case demonstrating that the activity
should count under these policy
guidelines.

 

Faculty Handbook v. 2000-2001
Evaluation of Faculty

Statement of Expectations

University Service
The university is not a collection of individuals

working in isolation. Instead, it is a community
whose vitality depends on the voluntary efforts of
the faculty collaborating to promote the common
good. Many of these efforts are channeled
through a multiplicity of committees, councils,
boards, task forces, and similar structures that
collectively comprise the infrastructure of the
institution. AIl faculty members are expected to
participate in the collective life of the university,
especially through the constituent part of its
infrastructure.

All faculty members must serve in their home
academic unit, unless assigned to a position such
as associate dean that precludes such service. The
amount of service is correlated with academic
rank, with senior faculty expected to provide the
greatest amount of service and to provide
leadership. All faculty also are expected to serve
beyond the home unit level. That is a basic
obligation attendant to the status of faculty
member. In large colleges, the requirement for
service beyond the home unit may be fulfilled by
service to the college. In small units, the
expectation of service beyond the home unit will
take into consideration the level of service to the
home unit required of the faculty member.
Service beyond the home unit is not a formal
requirement for tenure and promotion to the rank
of associate professor. However, a substantial
service record beyond the home academic unit
strengthens the case for tenure and promotion to
the rank of associate professor. Some service
beyond the home unit is a requirement for
promotion to full professor.

Faculty members have the responsibility to seek
opportunities for service beyond their home unit.
Administrators charged with the development of
faculty are obliged to encourage and to facilitate
faculty involvement beyond the home unit level.

Those who are responsible for assessing faculty
performance must consider the extent of service
performed at the home unit level when assessing
the overall service record. Faculty members who
have been engaged in time-consuming service at

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 23 of 34 PagelD #:23

the home unit over a period of years cannot be
expected to have sustained a substantial amount of
professional or community service or university
service beyond the home unit. When a faculty
member’s exemplary service at the home unit is to
be a factor in the evaluation of the faculty
member’s performance by a higher unit (e.g. by
the academic dean or college personnel for faculty
in a department or by the University Board on
Faculty Promotion and Tenure by all faculty), the
administrator (chair, director, academic dean) or
personnel committee of the home unit must
provide narrative detailing the candidate’s
exemplary service at the home unit.

Professional Service

Professional service is not required, but is to be
rewarded in annual evaluations for salary
adjustment and to be considered in tenure and
promotion decisions. The weight to be given to
professional service depends on the application of
the set of criteria described below.

Community Service
Community service is not required, but is to be

rewarded in annual evaluations for salary
adjustment and to be considered in tenure and
promotion decisions. The weight to be given to
community service depends on the application of
the set of criteria described below.

Documentation

At the point of any personnel decision affecting a
faculty member, the faculty member is to present
a full report on service activities. The report must
include a) a brief explanation of the nature of the
service; b) a description of the time and effort
invested in the service activity, such as the
frequency of meeting, preparation time, etc.; c)
the accomplishment of the service activity, such
as reports produced, decisions made, etc.; d) a
description of one’s own contributions to the
collective accomplishment; and, e) supporting
documentation.

At the point of major personnel decisions — formal
reviews for re-appointment of untenured faculty,
tenure and promotion — the faculty member, the
departmental chair or program director, or the
chair of the personnel committee in the home

 

Faculty Handbook v. 2000-2001
Evaluation of Faculty

academic unit must solicit an evaluation of the
faculty member’s service contributions from the
chairs of committees or other university service
venues on which the faculty member served.
Similarly, letters documenting professional and
community service contributions should be
solicited. Given the time constraints on the
leaders of many external organizations, though,
the absence of such letters should not be
considered grounds for discounting the
significance of professional and community
service.

Criteria for Evaluation

The following criteria shall be applied when
evaluating the quality of service. They shall be
applied holistically as a set. Not all criteria need
to be met for an activity to be evaluated as high
quality service.

1. Importance and quality of individual
contribution. Other things being equal,
activities that make a distinctive contribution
carry more weight than do other activities.
Thus effectively filling leadership roles (e.g.
chairing a committee) carry more weight than
do other roles. Activities carried out in
informal roles can make contributions as
important as those provided by those in
leadership roles. For example, a person who
drafts a lengthy report or other document is
making an important contribution even if it is
not designated as a formal role. Other
examples of informal leadership would be
representation of the unit at public functions,
initiating changes and steering them. to
fruition, serving as a bridge to other units, and
willingly volunteering for necessary but
otherwise thankless tasks.

2. Impact or significance of the service. Other
things being equal, service contributions that
have substantial and important consequences
in the setting in which the service takes place
carries more weight than does work that does
not have important consequence.

3. Time on task. Other things being equal, the
greater the work load of the service, the more
weight it carries.

 

 
Case: 1:10-cv-00078 Document #; 1 Filed: 01/06/10 Page 24 of 34 PagelD #:24

4. Intellectual work. Other things being equal,
service activities that involve extensive
application of expertise, acquisition of new
knowledge, etc., carry greater weight than do
service activities that involve less.

5. Interaction of service, teaching, and
scholarship. Other things being equal, service
activities that develop new teaching and
scholarly competencies, new information, or
new technology or research agendas count
more than activities that do not.

6. Communication and dissemination. Other
things being equal, service work that leads to
publication or communication of findings
carries more weight than does other kinds of
work.

Distinctive and Significant Contributions’

In a case where the faculty member has made a
distinctive and significant contribution to the
university or its mission, this contribution shall be
weighed heavily regardless of which category it
falls into (e.g. teaching and learning; scholarship,
research, and/or creative activities; or service).

PROMOTION: SPECIFIC CRITERIA BY RANK

General Criteria

The principal criteria for initial appointment and
promotion in academic rank are quality of
teaching and learning; scholarship, research,
and/or creative activities; and service.

General university criteria are subject to further
specification standards adopted by colleges,
schools and departments. Criteria that are
approved by and included in official documents of
the academic units are as binding on the members
of those units as are the general university
standards for which they provide explication.
Should there be a difference between the two sets
of criteria, those of the university shall prevail.

A faculty committee within the originating college
or school should prepare a written policy for

 

> Adopted by Faculty Council — May 3, 1995

 

Faculty Handbook v. 2000-2001
Evaluation of Faculty

promotion and tenure including definitions, goals,
and importance of the three fundamental areas of
academic performance for that unit’s faculty
members. This document should reflect the input
of the various departments in that college or
school.

The University Board on Faculty Promotion and
Tenure shall review the criteria prepared by the
college, school and department. The Board shall
determine whether said policies are consonant
with the general university policy on promotion
and tenure. If the Board finds college or school
policies to be inconsistent with university
guidelines, it will so inform the academic unit
with the expectation that the academic unit shall
revise criteria accordingly.

Assistant Professor

The doctorate or terminal degree is required for
this rank. Exceptions are made for candidates
who have already attained recognition for
scholarly or other relevant professional
achievements and give promise of continued
academic development. The assistant professor
should demonstrate a potential for becoming a
good to excellent teacher, for pursuing
scholarship, research, and/or other creative
activities, and service.

Associate Professor

In addition to the requirements for assistant
professor, the candidate must demonstrate good to
excellent teaching performance. The candidate
should also show evidence of notable scholarship,
research, and/or creative activities, and service.
The candidate should be engaged in scholarly
endeavors that are likely to result in additional
academic achievements. For this rank, the
candidate should show significant involvement in
university activities at the respective college,
school or departmental level.

Professor

This rank is reserved for those with recognized
academic achievements. In addition to the
requirements for associate professor, candidates
must give evidence of continued scholarship,

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 25 of 34 PagelD #:25

research, and/or creative activities — the quality of
which is recognized by their peers outside the
university. For promotion to full professor, an
evaluation of the candidate’s scholarly or creative
record by a minimum of two external experts who
have been sent the appropriate materials as
required. These evaluations should be from
persons not overly influenced by personal
relations with the applicant. Candidates for this
rank should also present evidence of notable
service contributions to the university at a level of
their home academic unit and beyond. Good to
excellent teaching remains mandatory for this
rank.

TENURE

Contract Rights

Continuous contract rights at DePaul University
are given to faculty members who have attained
tenured status as provided for in this Faculty
Handbook. Faculty members employed under
continuous contract are entitled to annual contract
renewal and shall be subject to the terms and
conditions of employment that exist at the time of
each annual performance review, unless separated
pursuant to the provision of the SEPARATION
section of this Faculty Handbook.

Eligibility

Only a faculty member with a tenure track
appointment is eligible for tenure. The basis upon
which tenure is granted or denied tenure are:

1. Academic Qualifications

Before granting tenure, the university should
have no reasonable doubt about the faculty
member’s demonstrated qualifications and
continued capacity to contribute to DePaul’s
distinctive goals and academic mission.

2. Length of Service

AS a general norm, the university requires
seven (7) years of continuous service with a
regular full time appointment at DePaul. This
length of time is reduced for the faculty
member whose initial appointment is at the

 

Faculty Handbook v. 2000-2001
Evaluation of Faculty

rank of professor or associate professor. The
seven years may also be reduced by one, two,
or three years by the institution’s recognition
of a previous full time faculty appointment at
another college or university. For this
previous service to be applied in reducing the
length of service at DePaul, the prospective
faculty member and the university must reach
an agreement that will be included in the
initial faculty contract. This contract,
therefore, will indicate the number of
probationary years of service before the
faculty member is eligible for tenure at
DePaul University. If, during this
probationary period, a faculty member is on
leave of absence for one quarter or longer, the
year during which the leave occurs is not
considered as a year of probationary service,
unless the contrary is explicitly provided for
in writing by the executive vice president for
academic affairs in granting the leave. The
leave does not break the required continuity of
service even when the year is not part of the
probationary period.

As a general norm, the years a faculty
member has spent at DePaul University with a
special full time appointment (e.g. non tenure
track appointments as instructor or visiting, or
years spent as instructor (ABD)) are not
calculated as satisfying the required
probationary years. If the faculty member’s
status is changed from a special to a regular
full time appointment, one or more years
spent in a special appointment may be
calculated to satisfy the years of probationary
service required assuming the negotiation is
agreed upon by the academic dean and the
executive vice president for academic affairs.

Faculty members in advanced academic ranks
who have not yet completed the required
years of service are eligible to apply for
tenure as follows:

Faculty members joining the university at the
rank of full professor are usually offered
tenure with the initial contract. However,
those full professors who are not offered
tenure with the initial contract shall have one
formal probationary evaluation — the one

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 26 of 34 PagelD #:26

before December 15" of the second year of
service. This evaluation will decide whether
the professor will be granted tenure or not
offered renewal of contract after the second
year.

Faculty members joining the university at the
rank of associate professor shall have a
minimum of two formal probationary
evaluations, the last evaluation leading to the
decision to grant or deny tenure. If tenure
credit is given upon initial appointment, the
specifics of the review process will be
identified in the letter of offer.

3. Needs of the University or Academic Unit

In planning the number and qualifications of
faculty to meet future needs and the resources
required to support the faculty, the university
may — after consultation with the faculty —
limit the number of tenured positions in the
university or in any of its academic units. In
such instances, tenure would not be granted
regardless of the faculty member’s
qualifications and length of service.

Externally Supported Appointments

Faculty members with special full time
appointments in positions funded by non-
university resources are not eligible for tenure.
This restriction is part of the faculty contract.

Denial of Tenure

The faculty member with a regular full time
appointment who is not granted tenure after
completing the years of probationary service
required for a tenured appointment (normally
seven years), will not be offered a contract
renewal at DePaul.

Termination of Tenured Appointments

The university may terminate a tenured faculty
member for reasons of financial exigency, the
need to discontinue or substantially reduce the
size of an academic unit or program, for cause of
medical disability, or for cause of gross or
negligent violation of university standards and

 

Faculty Handbook v. 2000-200!
Evaluation of Faculty

expectations. (See SEPARATION for full
explication.)

PROCEDURES AND ‘TIMETABLE FOR
PROMOTION AND TENURE

Process

Each year, eligible faculty may apply for tenure
and/or promotion in academic rank. On or before
May 15", the executive vice president for
academic affairs will notify eligible faculty in
writing of the deadline for submitting an
application for promotion and/or consideration of
tenure. The faculty member’s request must be
submitted to the departmental chair, academic
dean, and the executive vice president for
academic affairs on or before September 15".
Failure to meet this deadline postpones an
application for promotion until the next academic
year. In cases of tenure consideration (with or
without promotion), failure to apply during the
year of a faculty member’s eligibility or a
withdrawal from consideration will result in the
forfeiture of tenure rights and the termination of
the faculty member’s appointment at the end of
the next academic year.

The executive vice president for academic affairs
will acknowledge receipt of the application no
later than September 30" and will advise the
candidate for promotion only that the right to
withdraw an application for promotion is active at
any time and can be made without prejudice for
future applications.

A faculty member is normally expected to serve
three to six years, depending on the practice of the
relevant college or school, in a given rank before
promotion to the next rank. Exceptions to the
norm are allowed when the dean and/or college
personnel committee, where it exists, certify that
the candidate’s extraordinary performance,
according to departmental, college or school
criteria, warrants early promotion in rank, and the
University Board concurs. There is no limit to the
number of times a faculty member may apply for
promotion to full professor. In the event of a
negative recommendation, however, the faculty
member is strongly urged to refrain from re-

11

 

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 27 of 34 PagelD #:27

applying for at least one year after the negative
recommendation. Requests for tenure submitted
before the year of eligibility will not be accepted.

All tenured faculty members of a candidate’s
home academic unit are permitted and expected to
vote by a secret ballot at a meeting in which the
candidate’s application is reviewed and discussed,
exempting those faculty who may be unable to
participate due to approved leaves of absence.
For those departments, colleges or schools that
utilize a personnel committee at the initial level of
review, the personnel committee shall draft a
recommendation that will be distributed to all
tenured faculty members prior to the meeting. If
there are an insufficient number of tenured faculty
available at the departmental or college stages, a
dean may appoint tenured faculty to the review
process from other related academic units.
Untenured, tenure track faculty will be given the
opportunity to participate in the review process,
but do not have the right to vote. The unit may
follow a standing policy of restricting voting for
promotion to persons of equal rank or higher,
provided there is a critical mass of faculty at that
rank or higher.

The report on the recommendation from the home
academic unit shall fully discuss both strengths
and weaknesses in the record so as to provide an
explanation for positive and negative votes. All
faculty participating in the decision will read the
final report of the unit’s recommendation and sign
one of two forms:

e One stating that the faculty member agrees
that the report accurately represents the
discussion of the unit, or

e Another stating that the report does not
accurately reflect the discussion of the unit.

The faculty member’s signature does not indicate
the direction of the signatory’s vote. Faculty who
sign the form indicating lack of agreement must
provide a signed written statement of their
reasons. In the event a faculty member refuses or
is unable to sign one or the other of the two forms
above, the report will go forward with an
explanation from the person responsible for
gathering the signatures.

 

Faculty Handbook v. 2000-2001
Evaluation of Faculty

Review of qualifications for promotion and tenure
is in four stages. At each stage:

e The numerical vote of the reviewing body
must be reported at all subsequent levels;

e Minority or other reports will be filed with the
next higher level only when the candidate has
had the opportunity to review such reports in
order to respond appropriately. Minority
and/or dissenting reports must provide explicit
explanations and rationale;

e All documents considered at any level shall be
passed on to subsequent levels. The candidate
shall have access to all internal documents
being considered;

e The candidate shall be informed by the
departmental chair and/or academic dean of
the decision, numerical vote, and all of the
grounds for the decision before moving on to
the next level;

e Applicants for promotion and/or tenure may
continue to the next stage of deliberation,
regardless of the recommendation(s) at any
prior stage;

e Any reversal of the decision of a prior level
shall be reported promptly to the departmental
chair and/or academic dean of the prior level
along with the reasons for the reversal.

The first stage of the review is conducted by the
department or, in the absence of a departmental
structure, another appropriate initial review body
(personnel committee, faculty of the whole and/or
academic dean) according to its established
procedures. A student representative(s) chosen by
the appropriate selection procedures established
by the college and/or Student Government
Association shall participate in the review at this
level and be present to answer questions regarding
his or her written report at the hearing of the
University Board on Faculty Promotion and
Tenure. The student representative shall be
prepared to fulfill these responsibilities by the
department chair, the chair of the personnel
committee, or the academic dean as appropriate.

The student representative’s involvement in the
promotion and tenure process is limited to
consideration of the faculty member’s teaching
performance. The student representative shall

12

 

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 28 of 34 PagelD #:28

retain the right to vote and the focus of the student
representative’s responsibility will be to speak
intelligently regarding the faculty member’s
teaching record and to carefully reflect the
perception of other students.

The elected student representative will make a
presentation to the departmental or college
personnel committee concerning the faculty
member’s teaching. Following a discussion with
the committee on the teaching record, the student
will cast his or her vote, which will remain secret
and be counted with all other votes at the
appropriate time. The student may then be
excused for the rest of the deliberation. . Should
the student be permitted to stay, his or her vote
may be cast at the same time as all other voting
members.

The student representative should prepare his or
her presentation by reviewing both the
quantitative and substantive data from the course
evaluations as well as collecting additional student
opinion by means of an open, representative
information gathering process in accordance with
standing policies of the academic unit. It should
be stressed to the student representative that he or
she is not participating in this process as an
advocate for the candidate, but rather as a
representative of the student body, commenting
on the effectiveness of the candidate’s teaching.
The focus of the student report should be on the
interpretation of the student evaluations,
particularly noting areas of discrepancy that might
exist between the written evaluations and the
result of the student survey. A written student
report should be submitted as part of the materials
presented in support of the candidate’s
application. The candidate should have the
opportunity to review this report prior to
appearing before any review board at any level.

The unit may, when deemed necessary, invite
faculty from other units to participate in the
review process at this level. It is especially
important at this stage that the reviewing body
critically assess all data concerning the
candidate’s disciplinary and/or area of
qualifications. At this stage, the burden of
presenting a convincing case for promotion and/or
tenure lies with the department and/or college,

 

Faculty Handbook v. 2000-2001
Evaluation of Faculty

rather than with the candidate. The departmental
or school recommendations must be substantive
and provide specific, concrete examples to
support the positive or negative decision. These
recommendations will explicitly identify the
strengths and weaknesses of each given case as
evidence for the recommendation. Failure on the
part of the department, college or dean to provide
clear rationale weakens the recommendations at
the university level and may result in the next
level’s decision to postpone action for a year on
the recommendation. On or before January 15",
the recommendations of the department, program
or school shall be submitted to the office of the
dean.

The academic dean of the respective college or
school conducts the second stage of the review.
In this process, a college or school personnel
committee may advise the dean. The dean has the
responsibility for submitting a comprehensive
review of each candidate. When the dean’s
decision differs from that of the tenured faculty,
college or school personnel committee (where one
exists) or departmental recommendation, the dean
shall inform all involved parties of his or her
decision and the underlying reasons. The dean’s
formal recommendation to the University Board
on Faculty Promotion and Tenure shall also
explicitly cite the reasons that comprise his or her
recommendation. Regardless of whether they are
in accord, the dean and the college or school
personnel committee may submit separate
recommendations, if desired. The dean’s
recommendation, the recommendation and
numerical vote of the personnel committee, along
with the candidate’s supporting material are to be
submitted to the executive vice president for
academic affairs on or before the appropriate date
as specified for a specific college or school (see
below).

The third stage of the review is by the University
Board on Faculty Promotion and Tenure, which
meets during the spring quarter. The executive
vice president for academic affairs makes a
recommendation to the president based on the
university board’s decision.

The president of DePaul University shall make
final decisions regarding promotion and/or the

13

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 29 of 34 PagelD #:29

granting of tenure. On or before June 15", faculty
members will be given written notification of the
president’s decision. In cases of a negative
decision, the president will include in the written
notification the reasons for such a decision.

Tenure and/or promotion, when granted, become
effective at the beginning of the first full academic
year following the decision. If tenure is denied,
the faculty member’s appointment will terminate
at the conclusion of the contract for the following
academic year that was previously issued.

Only in rare instances and for compelling reasons
will the president overturn a promotion or tenure
recommendation made by the University Board on
Faculty Promotion and Tenure.

Supporting Materials

In promotion and tenure cases the University
Board on Faculty Promotion and Tenure shall
receive the following and other relevant materials:

e Complete professional curriculum vitae for
the applicant, paginated with the applicant’s
name on each page;

e A 5 to 8 page statement in which the faculty
member emphasizes those achievements or
qualifications to which the board should
particularly attend;

e Evidence of teaching effectiveness;

e The written recommendation(s) from the
reviews conducted at prior levels;

e For promotion to full professor, an evaluation
of the record of the candidate’s scholarship,
research, and/or other creative activities by a
minimum of two (2) external experts who
have been sent the appropriate materials.

e Other evidence the applicant may wish to
submit, i.e., summary of course evaluations,
awards, and special recognitions; and

e Asingle copy of articles, papers, published
manuscripts, etc.

Ordinarily, materials submitted to the University
Board are limited to that used in the college or
department review.

 

Faculty Handbook v. 2000-2001
Evaluation of Faculty

University Board on Faculty Promotion and
‘Tenure

The University Board on Faculty Promotion and
Tenure shall be appointed by the Faculty Council
and be comprised of seven (7) voting faculty
members. The seven faculty members will be
broadly representative of different areas of
inquiry. Only tenured professors are eligible to
serve as representatives of the board. Associate
deans are not eligible. Appointments to the board
will be staggered; each appointment will be for a
three (3) year term. The executive vice president
for academic affairs shall serve as the convener
and a non-voting member of the board.

The board shall have the following
responsibilities:

1. to apply current university-wide standards and
criteria for tenure and promotion;

2. to review: a) the candidates application and
supporting materials, b) recommendations
from prior levels, and c) the application of
departmental and/or college criteria to the
candidate;

3. to recommend action for tenure and/or
promotion of the candidate;

4. to review college/school guidelines and
criteria to insure consistency with stated
university expectations as well as reasonable
application of these criteria to the evaluation
of faculty members.

At the conclusion of each year’s proceedings, the
members of the board shall make
recommendations to the executive vice president
for academic affairs regarding the board’s future
functioning. The executive vice president for
academic affairs shall refer any policy issued
raised by board members to the Faculty Council
and will make available a statistical summary of
the final decisions to the faculty of the university.

University Promotion and Tenure Schedule

The following is the suggested schedule for the
university promotion and tenure process.
Whenever possible, the university will abide by
the proposed time table.

14

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 30 of 34 PagelD #:30

May 15

Letter of notification as to the eligibility to apply
for promotion and tenure sent to the faculty
member from the executive vice president for
academic affairs.

September 15

Letter requesting consideration for promotion
and/or tenure submitted by the faculty member to
the executive vice president for academic affairs,
the academic dean, and the head of the academic
unit.

January 15
Report from the academic unit submitted to the
academic dean.

January 31

Report from the academic dean and the academic
unit of the following colleges and schools
submitted to the executive vice president for
academic affairs

e School of Computer Science,
Telecommunications and Information
Systems

School of Education

College of Law

School of Music

School for New Learning

The Theatre School

March 1

Report from the academic dean of the College of
Commerce and all relevant materials submitted to
the executive vice president for academic affairs.

March 15

Report from the academic dean ofthe College of
Liberal Arts and Sciences and all relevant
materials submitted to the executive vice president
for academic affairs.

Winter/Spring Quarter
University Board on Faculty Promotion and
Tenure meet with faculty candidates.

 

Faculty Handbook v. 2000-2001
Evaluation of Faculty

June 15
Decision of the university president. Notification
of the president’s decision will follow in a timely
fashion.

 

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 31 of 34 PagelD #:31

Exhibit B

 
Case: 1: 10- -cv-00078 Document #: 1 Filed: 01/06/10 Page. 32. of 34 PagelD #:32

EEOC Form 5 (6/01) fogs

 

 

 

 

 

 

 

 

 

 

CHARGE OF DiscRIMh NATION Charge Presented 10: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [ FEPA
Statement and other information before completing this form.
[X] EEoc 440-2009-01066
lllinois Department Of Human Rights and EEOC
State or local Agency, if any
Name (indicate Mr., Ms., Mrs.) Home Phone (inci. Area Code) Date of Birth
Mr. Jami Montgomery 07-07-1963
Street Address City, State and ZIP Code

§238 South Michigan Avenue, Chicago, IL 60615

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That ! Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

Name No. Employees, Members Phone No. (Include Area Code)
DEPAUL UNIVERSITY 500 or More
Street Address City, State and ZIP Code

1 East Jackson, Chicago, IL 60604

 

 

 

 

 

Name No. Employees, Members Phone No. (include Area Code)

Street Address City, State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

RACE [] COLOR [| SEX [| RELIGION [| NATIONAL ORIGIN 06-03-2008
RETALIATION [ | AGE [| DISABILITY [| OTHER (Specify below.)

[ | CONTINUING ACTION

 

 

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
| was hired by the Respondent in March 2002. | am employed as an Assistant Professor. During my
employment, | engaged in protected activities. On or about June 3, 2608, | was denied a promotion and tenure,
whereas similarly situated, non-Black Assistant Professors were treated more favorably.

| believe that | have been discriminated against because of my race, Black, and | was retaliated against for
engaging in protected activities, in violation of Title VII of the Civil Rights Act of 1964, as amended.

RECEIVED EEOC
NOV 21 2008
CHICAGO District OFFICE

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will cooperate
fully with them in the processing of my charge in accordance with their procedures.

 

 

| swear or affirm that | have read the above charge and that it is true to

 

 

| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT
/ SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
Nov 21, 2008 pl (month, day, year)

 

Date Charging Party Signature

 

 

 

 

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 33 of 34 PagelD #:33

Exhibit C

 

 
Case: 1:10-cv-00078 Document #: 1 Filed: 01/06/10 Page 34 of 34 PagelD #:34

EEOC Form 161-B (3/98) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

NOTICE OF RIGHT TO SUE (/SSUED ON REQUEST)

 

To: Jami Montgomery From: Chicago District Office
5238 South Michigan Avenue 500 West Madison St
Chicago, IL 60615 Suite 2000

Chicago, IL 60661
CERTIFIED MAIL 7001 0320 0005 8565 9715

On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))

 

EEOC Charge No. EEOC Representative ~ Telephone No.
Amy Burkholder,
440-2009-01066 Investigator (312) 353-8906

 

(See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964 and/or the Americans with Disabilities Act (ADA): This is your Notice of Right to Sue, issued
under Title Vil and/or the ADA based on the above-numbered charge. It has been issued at your request. Your lawsuit under Title VII or
the ADA must be filed in a federal or state court WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this
charge will be lost. (The time limit for filing suit based on a state claim may be different.)

More than 180 days have passed since the filing of this charge.

[| Less than 180 days have passed since the filing of this charge, but | have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge.

[| The EEOC is terminating its processing of this charge.
The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:

[| The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

[| The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

 

if you file suit, based on this charge, please send a copy of your court complaint to this office.

On behalf of the Commission

pa ae 4104

Enclosures(s) John P. Rowe, (Date Mailed)

District Director

cc: DEPAUL UNIVERSITY

 
